                    Exhibit 18
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                                                                                                             CITY-0141599



       From: "Smith, Alexander W" <                  (&dea.gov>
          To: "Saulsbury, Will" <         @johnsoncitytn.org>
     Subject: [EXTERNAL] Sean Williams Info
        Date: Wed, 31 Aug 2022 23:42:07 +0000
  Importance: Normal



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 or open attachments unless you recognize the sender and know the content is safe.



Williams has an account at Renasant Bank       PPI       that he used in 2020 to withdraw quite a bit of cash.
He claimed to own a concrete business on the customer information. He also used telephone number 828-506-
 PPI and email             PPI          . In 2017, he had a different account at Renasant Bank I     PPI     )
associated with "Glass and Concrete Contracting LLC" and         Female 4         (Johnson City).

He had an account with First Bank and Trust    PPI          ) but I can't tell if that one is still open. Looks like that
branch thought he was laundering money at some point.

In 2015, he had an account with Sunset Bank (no account number shown). I think that location is now First
Community Bank but I'm not sure if it was a buy out or a new bank took over. Williams dumped over $200,000
into his account there between 2014 and 2015. Potentially the same account, a different report showed business
accouni PPI tied to the glass/concrete business.

Good luck man. Let me know if I can help further. You're welcome to stop by DEA any time to look at the does
where I found all this stuff.

Best,

Alex Smith, MA MAT
DEA/CDTF Intelligence Analyst
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C:




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